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 1                                                                 The Honorable Judge Pechman

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 4

 5

 6                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8     TRAVELERS PROPERTY CASUALTY                       No. 2:19-cv-1175 MJP
       COMPANY OF AMERICA, a foreign
 9     insurance company,                                REVISED SCHEDULING ORDER
                                                         AND JOINT DISCOVERY PLAN
                                Plaintiffs,
10
                        v.
11
       NORTH AMERICAN TERRAZZO, INC., a
12     Washington Corporation,

13                              Defendants.

14
       NORTH AMERICAN TERRAZZO, INC, a
15     Washington Corporation,

16                              Third Party Plaintiff,

17                      v.

18    TERRAZZO & MARBLE SUPPLY CO. OF
      ILLINOIS, a foreign corporation,
19
                                Third Party Defendant
20
             Plaintiff Travelers Property Casualty Company of America (hereinafter “Travelers”),
21
     Defendant/Third Party Plaintiff North American Terrazzo (hereinafter “NAT”) and Third-Party
22
     Defendant Terrazzo & Marble Supply Co. of Illinois (hereinafter “Terrazzo”) (collectively
23
     referred to as “The Parties”) hereby submit the following proposed order and discovery plan

      Revised Order and Discovery Plan – 1                             LETHER LAW GROUP
                                                               1848 WESTLAKE AVENUE N, SUITE 100
                                                                        SEATTLE, WA 98109
                                                                P: (206) 467-5444 F: (206) 467-5544
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 1   pursuant to the Court’s Minute Entry of May 15, 2020 (Dkt. 50). Specifically, the Parties request

 2   that the following schedule be entered:

 3    Jury Trial Date                                   December 15, 2020
      Deadline for joining additional parties           December 31, 2019
 4    Deadline for filing amended pleadings             January 10, 2020
      Reports from expert witness under FRCP            July 10, 2020
 5    26(a)(2) due
      All motions related to discovery must be filed    July 31, 2020
 6    and noted on the motion calendar of the third
      Friday thereafter (see CR7(d))
 7    Discovery Complete by                             August 21, 2020
      All dispositive motion must be filed by and       September 4, 2020
 8    noted on the motion calendar on the fourth
      Friday thereafter (see CR7(d))
 9    All motions in limine must be filed by and        November 10, 2020
      noted on the motion calendar not earlier than
10    the third Friday thereafter and no later than
      the Friday before the pretrial conference
11    Agreed pretrial order due                         December 1, 2020
      Trial briefs, proposed voir dire questions, and   December 1, 2020
12    proposed jury instructions
      Pretrial Conference                               December 3, 2020
13

14   I.      Discovery Plan
15           A limited amount of discovery has already taken place to date. However, further
16
     discovery is needed on matters concerning coverage, NAT’s extra contractual claims and the
17   potential causes of the failure of the subject floor. As a result, both NAT and Travelers anticipate
18   taking additional depositions. NAT reserves the right to depose additional witnesses subject to
19   the responses and documents provided by Travelers to NAT’s discovery requests.
20           NAT plans on deposing the following witnesses, not including experts:
21           A. Bill Spencer – NAT assigned defense counsel
             B.   Allan Ryce – Travelers employee
22           C.   Dana Falstad – Travelers employee
             D.   Abigail Hecksher – Travelers employee
23           E.   Jim Phillips – Expert Witness
             F.   Travelers 30(b)(6)

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                                                                    1848 WESTLAKE AVENUE N, SUITE 100
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 1           G. T&M 30(b)(6)

 2           Travelers plans on deposing the following deponents, not including experts:

 3           A. Randy Rubenstein, in his individual capacity.

 4           Travelers reserves the right to depose additional witnesses as needed.

 5           The parties are currently in the process of scheduling depositions in June and July for the

 6   above referenced individuals. Following the depositions of these individuals, the party’s will

 7   make their expert disclosures on July 10 and then schedule the depositions of the same for July

 8   and August 2020.

 9           The parties reserve the right to issue additional written discovery as needed. The written

10   discovery will be issued in compliance with this scheduling order and local rules.

11   II.     Proposed Discovery Dates

12           The parties agree that the December 15, 2020 trial date is reasonable. Dispositive motions

13   are now due on September 4, 2020. Given the new dispositive motion deadline, the parties

14   anticipate that discovery can be completed by August 21, 2020. Moving the discovery deadline

15   until the end of August will allow the parties to use the summer months to conduct necessary

16   depositions while still being able to meet the discovery and dispositive motion deadlines.

17           Travelers plans on filing two dispositive motions. The first will be a motion seeking

18   summary judgment on all coverage issues and NAT’s breach of contract claim. The second will

19   be a motion on NAT’s extra-contractual claims. The motion regarding NAT’s extra-contractual

20   claims will not be brought until after discovery has closed. Travelers reserves the right to bring

21   its motion regarding coverage and NAT’s breach of contract claim as soon as it deems

22   appropriate. NAT takes the position that it needs to take depositions before it can respond to any

23



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 1   summary judgment motion filed by Travelers. NAT also reserves the right to file one or more

 2   summary judgment motions pending further discovery.

 3           Dated this 22 day of May, 2020.

 4                                                 LETHER LAW GROUP

 5                                                 s/ Thomas Lether
                                                   s/ Eric Neal
 6                                                 Thomas Lether, WSBA #18089
                                                   Eric J. Neal, WSBA#31863
 7                                                 1848 Westlake Ave N., Suite 100
                                                   Seattle, WA 98109
 8                                                 P: 206-467-5444 / F: 206-467-5544
                                                   eneal@letherlaw.com
 9                                                 tlether@letherlaw.com
                                                   Counsel for Travelers Property Casualty
10                                                 Company of America

11
                                                   ASHBAUGH BEAL
12
                                                   s/Robert S. Marconi__________________
13                                                 Robert S. Marconi, WSBA #16369
                                                   Ashbaugh Beal
14                                                 701 5th Avenue, Suite 4400
                                                   Seattle, WA 98104
15                                                 bmarconi@ashbaughbeal.com
                                                   Counsel for North American Terrazzo
16

17                                                 FALLON MCKINLEY, PLLC

18                                                 s/ Rebecca Morris___________________
                                                   R. Scott Fallon WSBA #2574
19                                                 Rebecca Morris WSBA #46810
                                                   155 NE 100th Street, Suite 401
20                                                 Seattle, WA 98125
                                                   TEL: (206) 682-7580
21                                                 FAX: (206) 682-3437
                                                   bfallon@fallonmckinley.com
22                                                 Attorneys for Third Party Defendant Terrazo
                                                   & Marble Supply Co. of Illinois
23



      Revised Order and Discovery Plan – 4                            LETHER LAW GROUP
                                                              1848 WESTLAKE AVENUE N, SUITE 100
                                                                       SEATTLE, WA 98109
                                                               P: (206) 467-5444 F: (206) 467-5544
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 1

 2                                          III.       ORDER
            Specifically, the Court ORDERS that the following schedule be entered:
 3
     Jury Trial Date                                    December 15, 2020
 4   Deadline for joining additional parties            December 31, 2019
     Deadline for filing amended pleadings              January 10, 2020
 5
     Reports from expert witness under FRCP             July 10, 2020
     26(a)(2) due
 6
     All motions related to discovery must be filed     July 31, 2020
     and noted on the motion calendar of the third
 7
     Friday thereafter (see CR7(d))
     Discovery Complete by                              August 21, 2020
 8
     All dispositive motion must be filed by and        September 4, 2020
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     noted on the motion calendar not earlier than
11   the third Friday thereafter and no later than
     the Friday before the pretrial conference
12   Agreed pretrial order due                          December 1, 2020
     Trial briefs, proposed voir dire questions, and    December 1, 2020
13   proposed jury instructions
     Pretrial Conference                                December 3, 2020
14

15
     IT IS SO ORDERED.
16

17          DATED this 22nd day of May, 2020.
18

19

20
                                                           A
                                                           Marsha J. Pechman
                                                           United States District Judge
21

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23



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                                                                            SEATTLE, WA 98109
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 1   Dated this 22nd day of May, 2020.

 2                                           LETHER LAW GROUP

 3                                           s/ Thomas Lether
                                             s/ Eric Neal
 4                                           Thomas Lether, WSBA #18089
                                             Eric J. Neal, WSBA#31863
 5                                           1848 Westlake Ave N., Suite 100
                                             Seattle, WA 98109
 6                                           P: 206-467-5444 / F: 206-467-5544
                                             eneal@letherlaw.com
 7                                           tlether@letherlaw.com
                                             Counsel for Travelers Property Casualty
 8                                           Company of America

 9
                                             ASHBAUGH BEAL
10
                                             s/Robert S. Marconi__________________
11                                           Robert S. Marconi, WSBA #16369
                                             Ashbaugh Beal
12                                           701 5th Avenue, Suite 4400
                                             Seattle, WA 98104
13                                           bmarconi@ashbaughbeal.com
                                             Counsel for North American Terrazzo
14

15                                           FALLON MCKINLEY, PLLC

16                                           s/ Rebecca Morris___________________
                                             R. Scott Fallon WSBA #2574
17                                           Rebecca Morris WSBA #46810
                                             155 NE 100th Street, Suite 401
18                                           Seattle, WA 98125
                                             TEL: (206) 682-7580
19                                           FAX: (206) 682-3437
                                             bfallon@fallonmckinley.com
20                                           Attorneys for Third Party Defendant Terrazo
                                             & Marble Supply Co. of Illinois
21

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23



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                                                        1848 WESTLAKE AVENUE N, SUITE 100
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 1
                                       CERTIFICATE OF SERVICE
 2
             The undersigned hereby certifies under the penalty of perjury under the laws of the State
 3
     of Washington that on this date I caused to be served in the manner noted below a true and correct
 4
     copy of the foregoing on the parties mentioned below as indicated:
 5

 6   Richard T. Beal, Jr.
     Robert S. Marconi
 7   Ashbaugh Beal LLP
     701 5th Ave Ste 4400
 8   Seattle, WA 98104
     RBeal@ashbaughbeal.com
 9   Rmarconi@ashbaughbeal.com
     Attorney for North American Terrazzo, Inc.
10
     R. Scott Fallon
11   Rebecca Morris
     155 NE 100th Street, Suite 401
12   Seattle, WA 98125
     TEL: (206) 682-7580
13   FAX: (206) 682-3437
     bfallon@fallonmckinley.com
14   Attorneys for Third Party Defendant Terrazo & Marble Supply Co. of Illinois

15
     By:         ☐ First Class Mail             ☒ ECF/ E-mail             ☐ Legal Messenger
16
             Dated this 22nd day of May, 2020 at Seattle, Washington.
17

18                                                   s/     Adam Arceneaux_________
                                                          Adam Arceneaux | Paralegal
19

20

21

22

23



      Revised Order and Discovery Plan – 7                                 LETHER LAW GROUP
                                                                   1848 WESTLAKE AVENUE N, SUITE 100
                                                                            SEATTLE, WA 98109
                                                                    P: (206) 467-5444 F: (206) 467-5544
